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                 &YIJCJU
Case 1:20-cr-00068-LEK Document 62-7 Filed 05/20/22 Page 2 of 15                                                                PageID.709


From:            James Bryant
To:              Mulryne Sean (CRM); James Bryant
Cc:              McCorriston William; Sorenson Ken (USAHI); Keller John (CRM); Lockhart Nicole (CRM); Laura Utoafili
Subject:         RE: [EXTERNAL] Re: 20-cr-00068-LEK USA v. Davis
Date:            Tuesday, May 17, 2022 11:51:17 AM


Sean:

Thank you for your email. In response to your questions/comments:

a) How could there be no notes or memos to file regarding PIN's many calls and/or meetings with Mr. Lowell? If such communications are
documented in an FD-302 or something similar, then please consider this a request for such forms.

b) How could there have been no emails at any point regarding the bribery-for-pardon/LDA matter within PIN? There was no written
communication (beyond the few emails produced between PIN and the filter team) regarding the filter team's work, the filing to Judge
Howell, the unsealing of her opinion, the resulting media coverage, and the attorney proffer in April 2021? Please clarify.

c) For clarity, are you representing that Keller has had no written communication with Mr. Lowell aside from emails exchanged with Mr.
Keller's @usdoj.gov email address?

d) In terms of #4, is it your contention that the only contact your office had with or about Reid Weingarten vis-a-vis Abbe Lowell or the
bribery-for-pardon/LDA was the one email regarding the NY Times article?

e) Mr. Keller's position at Georgetown Law may or may not be relevant, but it is certainly worthy of inquiry. I received an anonymous
communication who has intimated that there may be a connection. Independently, there is reasonable basis for me to inquire given the
apparent timing, especially given that Lowell has long been affiliated with Georgetown Law himself and is widely believed to have influence
with the administration. So are Keller and the DOJ representing that Mr. Lowell had nothing to do with Keller becoming an adjunct professor
at Georgetown Law, including but not limited to any recommendation, endorsement, or even guidance or advice given directly to Mr. Keller?
While I think it should be clear based upon my interaction with you that I do not need to be reminded of my duty of candor, however, I
recognize this may have been perceived by your team as an unusual question as it relates this inquiry, and an explanation was warranted.

f) With respect to the emails between PIN and the filter team, what you produced does not contain any of the emails initiating the
investigation or Mr. Keller appointing Todd Gee to oversee the filter team's work. There were no written communications (e.g. - emails, SMS,
iMessage, WhatsApp, etc.) during the relevant time period between anyone at PIN and the filter team (Todd, Victor, and Erica), besides what
the government included in its exhibits two weeks ago? Were there any conversations that Keller or anyone else at PIN had with Mr. Gee,
Victor Salgado, or Erica O’Brien Waymack regarding Mr. Lowell, their investigation, and/or ultimate ex parte filing to Judge Howell besides the
emails in the government's exhibits or what you just produced?

g) In terms of the PO, the overall concept is fine, but I have a few tweaks that I'll suggest once I have time to review properly after submitting
the filing due tonight. In the interim, of course, I'll honor the agreed-upon conditions.

I'm sorry if it creates any inconvenience on your end, but I have some additional requests:

1) All internal PIN emails and emails anyone at PIN shared with other DOJ entities regarding your phone calls and meetings with Lowell, from
February 1, 2018 to January 31, 2022.

2) Any emails PIN exchanged with anyone (whether within PIN or externally) regarding potential and actual media coverage of the
investigation or prosecution of my client or Elliott Broidy, or regarding Abbe Lowell or the bribery-for-pardon/LDA matter, from February 1,
2018 to the present.

3) All communications or notes, memos, or other documentation regarding communications that Mr. Keller or anyone else at PIN had
regarding the warrantless search and seizure of my client on August 11, 2020 at O'Hare Airport by Customs and Border Patrol. The emails you
have already produced make clear that Mr. Keller was communicating with at least one other party regarding the search and seizure, so if
there are parties with whom he communicated only verbally regarding the matter, please identify the names, titles, and contact info for those
parties. (Given that this matter could not possibly implicate any ongoing investigations or anyone's privacy concerns besides my client's, I
trust that you will have no problem sharing this information, as well as the related requests below, before we formalize the PO.)

4) Whatever formal records, notes, memos, or memorializations CBP has regarding the August 11, 2020 search and seizure.

5) Any log, index or other document that lists or identifies with any particularity what CBP captured during their advanced search of my
client's phone, as well as all copies of materials collected during that search, including all screenshots taken on my client's device.

6) On page 6 of your opposition filing, it stated that the April 2020 FARA letter to Lowell was "in relation the three different individuals." Who
is the third person (besides        and                ) referenced, and does the DOJ believe that Lowell potentially had a conflict from that
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relationship, as well?

7) All written communications, notes and memos to file or any other document or form regarding calls or meetings that Keller or anyone else
at PIN had within PIN itself, with other DOJ counterparts, or with parties outside of DOJ (including but not limited to Lowell and Weingarten)
regarding             ,                or discussion of both Mr. Lowell and Mr. Broidy or Lowell and Qatar in the same message or note/memo
between February 1, 2018 and January 31, 2021.

8) All communications that PIN had either within PIN itself or with other DOJ counterparts (including but not limited to NSD) regarding the
impact of or any connection between Ms. Davis' case and/or her potential or actual plea and the Broidy matter, including but not limited to
anything related to Mr              or the                  , between March 1, 2020 and December 31, 2020.

9) When, how, and specifically from which individual did PIN learn that the FARA inquiry into Lowell was "civil in nature"? Your email last
week stated that it was "by no later than in or around June 2020," but for something as critical as the question of when you learned that the
FARA probe was "civil in nature," there must be notes, a memo to file, or an email which memorialized that representation regarding Mr.
Lowell -- particularly since you contacted him to start plea negotiations shortly thereafter, on July 1, 2020. Please identify the NSD attorney
who "represented to the prosecution team that the inquiry was civil in nature," as well as the date and nature of that interaction.

10) The properties of the "Memo to File 8 26 2020" PDF you provided shows that it was created on that date, August 26, 2020, but that it was
modified on May 10, 2022. I normally wouldn't ask this, but given that the one-page PDF does has what appears to be the automated
numbering at the bottom saying, "Page 1 of 4," can you please send me the original unmodified version.

Please do let me know if you have any questions or need any clarifications regarding any of my responses or requests above. Thank you for
your cooperation on this important matter.

Best,

James A. Bryant II
Partner
The Cochran Firm - California
4929 Wilshire Blvd Suite 1010
Los Angeles, CA 90010
Ph.                Cell              Fax.

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From: Mulryne, Sean (CRM)
Sent: Monday, May 16, 2022 8:21 PM
To: James Bryant
Cc: James A. Bryant                                     ; McCorriston William                                    ; Sorenson, Ken (USAHI)
                           ; Keller, John (CRM)                         ; Lockhart, Nicole (CRM)                                   ; Laura
Utoafili
Subject: RE: [EXTERNAL] Re: 20-cr-00068-LEK USA v. Davis

James,

In response to the following requests immediately below—1), 2), & 5)—we are presently unaware of any responsive
documents, but will notify you if we identify anything responsive.

In response to 3), please see the email and screenshots included in the attached “Screenshots” zip file (a total of 11
documents). Please let me know if you have any trouble accessing the file.

In response to 4), please see the email attached dated December 3, 2020.

Regarding your inquiry about Mr. Keller’s adjunct professorship, that issue is irrelevant to the present motions. Your inquiry compels us to
remind you of your duty of candor to the Court. You should have a good faith basis for any allegations you raise or representations you make.

Regarding your previous request concerning emails between the prosecution team and the filter team, please see the attached “Filter
Prosecution Emails” zip file (a total of 12 documents). Again, please let me know if you have any trouble accessing the file.
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Regarding your previous request concerning subpoenas and search warrants, we are preparing those materials. However, given the law
enforcement and other sensitivities associated with such records, we will need a protective order in place before we disclose them. Attached
please see a proposed protective order and motion for a protective order. Upon your agreement, we will file the proposed order and motion
with the Court.

As for timing of our document production(s), we are working with our IT staff, so our timeline is uncertain. However, we will provide
documents as soon as they are ready and, if necessary, on a rolling basis.

Thank you.

Sean




From: James Bryant
Sent: Monday, May 16, 2022 2:24 PM
To: Mulryne, Sean (CRM)
Cc: James A. Bryant                                     ; McCorriston William                                   ; Sorenson, Ken (USAHI)
                         ; Keller, John (CRM)                          ; Lockhart, Nicole (CRM)
Subject: Re: [EXTERNAL] Re: 20-cr-00068-LEK USA v. Davis

Sean,

Thank you for your reply. The theory of relevance regarding subpoenas, search warrants and related communications is fairly straight
forward. Your office stated that your investigation and prosecution of my client was entirely ethical, and that there was no desire or necessity
for my client to plead guilty and implicate Mr. Broidy. There were at least three subpoenas and a warrantless search and seizure targeting my
client between the time the government presented its first draft plea agreement on July 15, 2020, and the time when my client signed it on
August 13, 2020. Any earlier subpoenas, search warrants and related communications would be relevant not just for context, but also to see
what other actions your office may have taken at certain times that would coincide with other DOJ actions related to other parties, including
but not limited to Mr. Lowell and Mr. Broidy.

There are five additional, necessary requests:

1) All notes and memos to files regarding all conversations that PIN had with Lowell between February 1, 2018, and January 31, 2022,
including but not limited to those related to the numerous calls during July - August 2020 and any calls related to the bribery-for-pardon
matter or the unsealing of Judge Howell's opinion.

2) Any internal emails within PIN regarding either the FARA or bribery-for-pardon/LDA investigations into Lowell, including but not limited to
any discussions regarding the status of those probes or the potential exposure Lowell faced from them.

3) The transcript, audio recording, and screenshots discussed with Lowell on and around August 5, 2020, as well as any communications PIN
had with the Hawaii U.S. Attorney's Office or any other DOJ personnel regarding those materials or the presentation of them to Lowell.

4) All communications between PIN and Reid Weingarten related to his representation of Lowell, including any notes or memos to file
regarding phone calls or meetings.

5) Any communications Keller had on a non-DOJ email account or on SMS or messaging app with Lowell between July 1, 2020 and the present,
including but not limited to any discussions regarding Keller's role as an adjunct at Georgetown Law.

By the way, when exactly was Keller offered the adjunct professorship? It appears to have been sometime around May 2021, but I would
appreciate some clarity on the timing.

In terms of the production related to the previous requests, when do you anticipate that you will produce the next batch of materials?

Please let me know if you have any questions or need any further clarifications.

Best,

James A. Bryant II
Partner
The Cochran Firm - California
Case 1:20-cr-00068-LEK Document 62-7 Filed 05/20/22 Page 5 of 15                                                               PageID.712


4929 Wilshire Blvd Suite 1010
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      On May 16, 2022, at 7:05 AM, Mulryne, Sean (CRM)                                   wrote:


      James,

      In response to your requests below:

      1) We are gathering additional communications between Lowell and PIN to provide to you.
      2) We are gathering and reviewing additional communications between the prosecution team and filter team.
      3) & 4) We are conferring with USAO-E.D.N.Y. and NSD's FARA Unit about your requests.
      5) Please state the basis of your request (i.e., theory of relevance) here for the subpoenas, search warrants, and related emails.

      Thank you.

      Sean




      From: James Bryant
      Sent: Friday, May 13, 2022 4:27 PM
      To: Mulryne, Sean (CRM)
      Cc: James A. Bryan                                          McCorriston William                                   ; Sorenson, Ken
      (USAHI)                           ; Keller, John (CRM)                              ; Lockhart, Nicole (CRM)

      Subject: Re: [EXTERNAL] Re: 20-cr-00068-LEK USA v. Davis

      Sean,

      Thanks for sending me the filter team emails. In the file, "Memo to File 8 26 2020," the bottom of the page says "1 of 4," but the
      PDF contains just one page. Can you please send me the other three pages of the August 26, 2020 "Memo to File"?

      Here are five additional requests for materials that I will need for purposes of the opposition filing due in four days, on Tuesday:

      1) All emails that Lowell exchanged with PIN from 2/1/18 to 6/30/20, and from 9/1/20 to the present, assuming that you have
      already provided me (or will soon with the .zip file) all such emails between 7/1/20 and 8/31/20.

      2) All emails between the filter team and PIN, regarding the "bribery-for-pardon"/LDA matter or generally regarding Mr. Lowell,
      from 6/1/20 to 12/31/20.

      3) All communications Keller and/or PIN had with either AUSA Ian Richardson and/or the two FBI agents (Megan Crawley and
      Mary Craver) who joined the August 2019 calls with Lowell, regarding those calls,       , or Lowell's potential conflicts of
      interest stemming from his connection to                 , and/or the still-unnamed third person referenced in your opposition
      filing who may have also presented a potential conflict.

      4) All communications their either or both NSD and/or FARA Unit had with Lowell or Weingarten, related to the FARA letter sent
      to Lowell on April 6, 2020.

      5) All subpoenas issued and search warrants executed pursuant to the investigation and prosecution of Ms. Davis, including but
      not limited to the subpoenas from July or August 2018 to Proline Mortgage, Amex, and Barclays, as well as any communications
      that Keller or PIN had regarding subpoenas related to my client that were issued in July or August 2018.

      With regards to my request for communications related to the FARA investigation into Lowell, your position does not seem to be
      either clear or consistent. As you know, it was PIN that chose to make public certain "internal communications" regarding the
      FARA investigation into Lowell, in order to substantiate your own assertions.
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    There is nothing privileged about DOJ's "internal communications," and it's obviously centrally relevant to know what exactly PIN
    knew about the FARA investigation into Lowell at any point prior to my client's arraignment on August 31, 2020. Just based on
    the unredacted version of the January 19, 2021 email thread Keller had with Ian Richardson and Scott Claffee, for example, it is
    clear that Mr. Lowell was still under investigation for FARA violations at the time of those communications.

    Finally, I just need a little more clarity as to when and how PIN learned that the FARA inquiry into Lowell was "civil in nature."
     Your email states that it was "by no later than in or around June 2020," but for something as critical as the question of when you
    learned that the FARA probe was "civil in nature," there must be notes, a memo to file, or an email which memorialized that
    representation regarding Lowell -- particularly since you contacted him to start plea negotiations shortly thereafter, on July 1,
    2020. Please check again for some kind of memorialization or communication regarding the date and the name of the NSD
    attorney who "represented to the prosecution team that the inquiry was civil in nature," and then please share that information
    with me.

    I realize that it is Friday afternoon, but given the deadline approaching for the opposition filing on Tuesday, please send me the
    requested materials as various items are located. As was noted in my motion, those documents were requested from Mr. Lowell
    and they were never turned over. Having had an opportunity to review some of them, I now see why he chose not to send these
    critical communications.

    Best,

    James A. Bryant II
    Partner
    The Cochran Firm - California
    4929 Wilshire Blvd Suite 1010
    Los Angeles, CA 90010
    Ph.                Cell               Fax.

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            On May 13, 2022, at 12:02 PM, Mulryne, Sean (CRM)                                  wrote:


            James,

            I just sent you an email attaching “Email 1 of 2”. We’ll see whether that works. In the meantime, attached is the
            single PDF file you requested below. I’ll attempt to send you the two zip files that were attached to “Email 1” in
            separate emails. Regarding the request below for emails between our Section and other DOJ offices and
            components, I understand that request to be seeking internal DOJ communications, sent and received by DOJ
            personnel. Again, we are not producing those records.

            Sean



            From: James Bryan
            Sent: Friday, May 13, 2022 10:59 AM
            To: Mulryne, Sean (CRM)
            Cc: James A. Bryant                                     ; McCorriston William
            Sorenson, Ken (USAHI)                          ; Keller, John (CRM)                              ; Lockhart, Nicole
            (CRM)
            Subject: Re: [EXTERNAL] Re: 20-cr-00068-LEK USA v. Davis

            Sean,

            Thank you for providing me the text of that first email. My IT administrator will hopefully stop by later today, so
            please send me a screenshot of the original email sent on Wednesday (with the time-stamp, recipients and
            attached file names visible), as well as a screenshot of the header information. Both Mac and I have spent
            considerable personal and staff time trying to identify in our systems how your email could have bounced or been
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           redlined draft of the plea agreement sent as an email attachment on August 9, 2020 (included in the
           “PIN Emails w Lowell” zip files), incorporating defense counsel’s “factual and legal edits and
           comments.”

           Lastly, we are not producing internal communications between DOJ offices, as noted previously.
           Those communications implicate the interests and equities of other DOJ offices independent of PIN
           and this case.

           This is intended as Email 1 of 2.




           From: James A. Bryant, Esq.
           Sent: Friday, May 13, 2022 1:07 AM
           To: Mulryne, Sean (CRM)                                            ; 'James A. Bryant'

           Cc: 'McCorriston William'                                             ; Sorenson, Ken (USAHI)
                                            ; Keller, John (CRM)                                  ; Lockhart, Nicole (CRM)

           Subject: RE: [EXTERNAL] Re: 20-cr-00068-LEK USA v. Davis

           Sean:

           I spoke with Mr. McCorriston’s office today and they confirmed that they to did not receive Email 1 of
           2 either. They also informed me that they reached out to you about this and you attempted to send it
           again but they still did not receive it. They confirmed with the IT department that their mail server did
           not reject or quarantine an email from you, and concluded that if this document was sent, there
           seems to be an issue with your mail server preventing it from being sent out.

           With that said, can you please forward us the Email 1 of 2 response without the attachments so that
           at a minimum I can review your responses to my questions. Secondly, since there seems to have been
           an issue likely with the attachments, can you please send the attachments in smaller batches. I look
           forward to your response.

           Best,

           James A. Bryant II
           Partner
           THE COCHRAN FIRM – CALIFORNIA
           4929 Wilshire Blvd Suite 1010
           Los Angeles, CA 90010
           Ph                Cell                 Fax.

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           From: Mulryne, Sean (CRM
           Sent: Wednesday, May 11, 2022 8:58 PM
           To: James A. Bryant, Esq.                                           ; James A. Bryant

           Cc: 'McCorriston William'                                             ; Sorenson, Ken (USAHI)
                                               Keller, John (CRM)                                  ; Lockhart, Nicole (CRM)

           Subject: RE: [EXTERNAL] Re: 20-cr-00068-LEK USA v. Davis

           James – Resent Email 1 of 2 to these two email addresses. Please let me know if you receive it.



           From: James A. Bryant, Esq.
           Sent: Wednesday, May 11, 2022 5:20 PM
           To: Mulryne, Sean (CRM)
           Cc: 'McCorriston William'                                             ; Sorenson, Ken (USAHI)
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                                             Keller, John (CRM)                                         Lockhart, Nicole (CRM)

           Subject: RE: [EXTERNAL] Re: 20-cr-00068-LEK USA v. Davis

           Will do.

           James A. Bryant II
           Partner
           THE COCHRAN FIRM – CALIFORNIA
           4929 Wilshire Blvd Suite 1010
           Los Angeles, CA 90010
           Ph                Cell                 Fax.

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           From: Mulryne, Sean (CRM)
           Sent: Wednesday, May 11, 2022 2:07 PM
           To: James A. Bryant, Esq.
           Cc: McCorriston William                                              ; Sorenson, Ken (USAHI)
                                     ; Keller, John (CRM)                                         ; Lockhart, Nicole (CRM)

           Subject: Re: [EXTERNAL] Re: 20-cr-00068-LEK USA v. Davis

           James,

           My email shows that the first one sent, but I presume, like you, that its size may be causing the delay.
           I’m away from my laptop right now, but I can resend it to your other email address a little later. In the
           meantime, please let me know if you receive it.

           Sean


           On May 11, 2022, at 4:48 PM, James A. Bryant, Esq.                                                    wrote:


           Sean thank you. Confirming receipt of email 2 of 2. I did not receive the first. It may be due to the size.
           If so could you please send to my other addres                                         .

           Best,

           James A. Bryant II
           Partner
           THE COCHRAN FIRM – CALIFORNIA
           4929 Wilshire Blvd Suite 1010
           Los Angeles, CA 90010
           Ph                Cell                 Fax.

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           original message and attachments.


           From: Mulryne, Sean (CRM)
           Sent: Wednesday, May 11, 2022 1:14 PM
           To: James Bryant
           Cc: McCorriston William                                              ; Sorenson, Ken (USAHI)
                                     ; Keller, John (CRM)                                         ; Lockhart, Nicole (CRM)

           Subject: RE: [EXTERNAL] Re: 20-cr-00068-LEK USA v. Davis

           Email 2 of 2.
Case 1:20-cr-00068-LEK Document 62-7 Filed 05/20/22 Page 10 of 15                                                  PageID.717



           From: James Bryant
           Sent: Tuesday, May 10, 2022 6:33 PM
           To: Mulryne, Sean (CRM)
           Cc: McCorriston William                                   ; Sorenson, Ken (USAHI)
                                    ; Keller, John (CRM)                               Lockhart, Nicole (CRM)

           Subject: Re: [EXTERNAL] Re: 20-cr-00068-LEK USA v. Davis

           Sean,

           Thank you for your quick reply. Following up on the civil FARA question, when was the matter
           "identified" as a civil matter and by whom? I don't understand you saying that you won't divulge
           internal internal DOJ communications on this particular issue when you already did so in the exhibits
           to your motion last week. Why would you publicly release some such internal emails, but then
           somehow draw a line at sharing these specific emails with me on the condition that they won't be
           filed publicly? Can you please explain to me the rationale?

           Because you are unable to send me even a redacted version of the ex parte motion at this time,
           please send me all communications between PIN and the filter team related to Lowell and the
           "bribery-for-pardon" matter, including discussions regarding the filing of the ex parte motion and
           Judge Howell's ruling.

           Finally, please send me all communications between Lowell and any of PIN, the filter team or the FARA
           Unit regarding my client (in any way), the "bribery-for-pardon"/filter team matter, and/or the FARA
           issue. I presume that won't be a problem, given that you already volunteered the April 2020 letter
           from the FARA Unit to Lowell, as well as at least some of the exchanges Lowell had with PIN and the
           filter team re the "bribery-for-pardon"/LDA matter, especially since the same conditions will apply.

           Thank you for being so responsive to my requests. I look forward to further replies soon.

           Best,

           James A. Bryant II
           Partner
           The Cochran Firm - California
           4929 Wilshire Blvd Suite 1010
           Los Angeles, CA 90010
           Ph.                Cell                Fax.

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           attachments.


                   On May 10, 2022, at 2:47 PM, Mulryne, Sean (CRM)                                   wrote:


                   James,

                   First, the paragraph was included in the Government’s Ex Parte Motion Seeking
                   Authorization to Review Certain Attorney-Client Communications. We are not providing
                   that motion.

                   Second, we are gathering the emails and attachments involving Lowell requested below.

                   Third, the attorney proffer was provided on behalf of Elliott Broidy on April 8, 2021.

                   Lastly, there is no documentation specifying that the FARA letter was sent pursuant to a
                   civil inquiry. However, the attorneys in the FARA Unit handling that matter identified it
                   as a civil inquiry. We are not disclosing the internal DOJ emails and communications
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               requested below.

               Thank you.

               Sean



               From: James Bryant
               Sent: Tuesday, May 10, 2022 4:59 PM
               To: Mulryne, Sean (CRM)
               Cc: McCorriston William                                Sorenson, Ken (USAHI)
                                        ; Keller, John (CRM)                          ; Lockhart,
               Nicole (CRM)
               Subject: Re: [EXTERNAL] Re: 20-cr-00068-LEK USA v. Davis

               Sean,

               Thank you. On what you just sent me, can you please tell me in which of the five
               attachments that paragraph was included? The context is potentially so important, in
               fact, that I respectfully request that you please send me that entire document, subject to
               the same conditions as the others. Redactions shouldn't be necessary given that the
               people allegedly involved all appear to have been identified publicly at this point, but if
               you feel that some names must be redacted in a document that I won't be filing publicly
               (because I'll adhere to the same conditions), then at least please send me the filing with
               limited, necessary redactions.

               Sorry to do this piecemeal, but can you please also send me all emails and attachments
               regarding plea negotiations or the arraignment that your office had with Mr. Lowell
               between July 1 and August 31, 2020? As you know, Mr. McCorriston wasn't on any email
               traffic between Lowell and your office until August 10, and it's clear from the exhibits you
               submitted last week that there were many emails relating to the plea and affiliated
               matters after August 10 that he was not included on. Please be sure to include the email
               substantiating your claim in page 14 of the opposition filing, "The reference to Broidy in
               the defendant’s factual basis was proposed entirely by the defendant."

               On page 17 of the opposition filing, it states, "The prosecution team... obtained an
               attorney proffer from a key witness, and determined that the evidence was insufficient
               to warrant a separate grand jury investigation." What is the date of that attorney
               proffer, and who was the attorney and the client on whose behalf the attorney
               conducted that proffer? It would seem to be Reid Weingarten on behalf of Mr. Lowell,
               but I would like you to please confirm that. Also send me the unredacted 302 of that
               attorney proffer, which will also be on the same conditions if possible.

               Finally, in several places in your opposition motion and in your email today, you have
               described Lowell's FARA matter as a "civil FARA" issue. But as I looked through all of your
               exhibits attached to the opposition, there is no indication anywhere that it was a civil
               FARA matter. Can you please provide me documentation or communications that shows
               the FARA probe to have been a civil matter? On a related note, please send me all email
               traffic you had with Brandon Van Grack, Ian Richardson, and/or Scott Claffee regarding
               Lowell and the FARA matter, including but not limited to any responses or further emails
               pursuant to your June 18, 2020 email in Exhibit 6. The same conditions will apply, of
               course.

               Please send me the above as soon as possible, ideally today. But please send the items
               as you retrieve them, because time is obviously short. Again thanks so much for your
               prompt responses.

               Best,

               James A. Bryant II
               Partner
               The Cochran Firm - California
               4929 Wilshire Blvd Suite 1010
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               Los Angeles, CA 90010
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                     On May 10, 2022, at 12:01 PM, Mulryne, Sean (CRM)
                                                wrote:


                     James,

                     Subject to the same conditions agreed upon in our earlier email and that
                     you reference and agreed to below, we are providing the two unredacted
                     FBI 302s, Exhibits 3 and 4, and the following information referenced in
                     connection with Exhibit 10:


                     Importantly, for purposes of this motion, we note that Lowell currently
                     represents Nickie Lum Davis, an alleged co-conspirator in the government’s
                     investigation involving Broidy and others. We do not know whether Lowell
                     has disclosed his prior relationship with Broidy,     or       —or any of
                     the communications discussed herein—to Ms. Davis. The filter team is
                     aware, however, that the government’s investigative team is currently in
                     ongoing plea negotiations with Ms. Davis through Lowell.


                     Thank you.

                     Sean




                     From: James Bryant
                     Sent: Tuesday, May 10, 2022 1:58 PM
                     To: Mulryne, Sean (CRM)
                     Cc: William C. McCorriston                                 Sorenson, Ken
                     (USAHI)                           ; Keller, John (CRM)
                                               ; Lockhart, Nicole (CRM)

                     Subject: Re: [EXTERNAL] Re: 20-cr-00068-LEK USA v. Davis

                     Thanks Sean,

                     Just looking for clarity on a few more issues. When you have a moment,
                     please also provide the unredacted versions of the two FBI 302s from
                     August 2019 (Exhibits 3-4), which I assume would not be an issue since the
                     redacted names are supposedly my client's contacts with whom there were
                     potential conflicts.

                     Separately, page 9 of the opposition states that your August 10 email of the
                     ex parte submission to Judge Howell "referenced the plea negotiations with
                     Lowell." The footnote is to Exhibit 10, but that Exhibit has none of the
                     attachments and merely contains the cover letter for the August 10 filing,
                     which does not "reference[] the plea negotiations with Lowell." Please
                     send me the portion of that August 10 ex parte submission that actually
                     makes such reference.

                     Obviously, happy to honor the same conditions for the unredacted 302s
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                  and the relevant portion of the August 10, 2020 ex parte submission.
                  Please let me know if you are agreeable to this.

                  Best,

                  James A. Bryant II
                  Partner
                  The Cochran Firm - California
                  4929 Wilshire Blvd Suite 1010
                  Los Angeles, CA 90010
                  Ph.                Cell                     Fax.

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                          On May 10, 2022, at 10:26 AM, Mulryne, Sean (CRM)
                                                     wrote:


                          James,

                          Thank you for your response. With the understandings about
                          this exhibit and its use set forth below, attached is the
                          unredacted Exhibit 25 to the government’s response.

                          Sean



                          From: James Bryant
                          Sent: Tuesday, May 10, 2022 12:07 PM
                          To: Mulryne, Sean (CRM)
                          Cc: William C. McCorriston
                          Sorenson, Ken (USAHI                             Keller, John
                          (CRM)                           Lockhart, Nicole (CRM)

                          Subject: Re: [EXTERNAL] Re: 20-cr-00068-LEK USA v. Davis

                          Thanks Sean. Yes I am totally agreeable to that.

                          Best,

                          James A. Bryant II
                          Partner
                          The Cochran Firm - California
                          4929 Wilshire Blvd Suite 1010
                          Los Angeles, CA 90010
                          Ph                 Cell                    Fax.

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                         On May 10, 2022, at 7:19 AM, Mulryne,
                         Sean (CRM)
                         wrote:


                         James,

                         The redacted portions of the emails in Ex. 25 do
                         not relate to the national security investigations
                         of Lowell’s former clients, and thus are
                         appropriately redacted. The reference to “it” in
                         Mr. Keller’s January 19, 2021 email refers to the
                         FARA civil inquiry letter sent to Lowell. We,
                         nonetheless, can provide you an unredacted
                         copy of Ex. 25 so long as you agree not to file it
                         publicly as an exhibit or otherwise, and you agree
                         not to quote from it in a public filing.

                         Thank you.

                         Sean



                         From: James Bryant
                         Sent: Monday, May 9, 2022 6:39 PM
                         To: Mulryne, Sean (CRM)

                         Cc: William C. McCorriston
                                                       ; Sorenson, Ken
                         (USAHI)                            ; Keller, John
                         (CRM)                            ; Lockhart,
                         Nicole (CRM)
                         Subject: Re: [EXTERNAL] Re: 20-cr-00068-LEK
                         USA v. Davis

                         Hi Sean:

                         In preparing our reply, I noticed that you
                         guys seem to have left out a key piece of
                         support that you had cited in your
                         opposition.

                         On page 15 of your brief, it says that PIN
                         "learned that the investigations were no
                         longer deemed likely to lead to charges."
                          The footnote cites to Exhibit 25, "Jan. 19,
                         2021, Emails Between Keller,
                         Richardson, and Claffee, re: civil FARA
                         inquiry, Ex. 25."

                         But when I looked at that Exhibit, I
                         realized that the email where the NSD
                         prosecutors told you that the
                         "investigations were no longer deemed
                         likely to lead to charges" was mistakenly
                         block redacted in full, apparently along
                         with every other email in the thread.

                         As you know, the one email in that Exhibit
                         that was not entirely redacted, which is
                         from you to Brandon Van Grack and Scott
                         Claffee, with James Mann cc'd, doesn't in
                         any way suggest that either there had
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                                been such an investigation or that it
                                wasn't "likely to lead to charges."

                                Your email also states, "Definitely not
                                contemplating filing it at all," but it's
                                unclear what "it" is without being able to
                                see the message to which you were
                                responding.

                                Could you please send me the full thread
                                without any block redactions? Obviously,
                                it's fine if you need to redact certain
                                identifying information, but that would be
                                a big help to better understand that
                                context for our reply.

                                Best,

                                James A. Bryant II
                                Partner
                                The Cochran Firm - California
                                4929 Wilshire Blvd Suite 1010
                                Los Angeles, CA 90010
                                Ph.                Cell                 Fax

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